         Case 3:15-cr-30011-PKH Document 92                              Filed 01/12/21 Page 1 of 4 PageID #: 361
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 1




                                       UNITED STATES DISTRICT COURT
                                                           Western District of Arkansas

          UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                     v.                                                    (For Revocation of Probation or Supervised Release)


                                                                           Case No.         3:15CR30011-003
                   ANDREW DAVIS
                                                                           USM No.          12609-010
                                                                                                       James Pierce
                                                                                                    Defendant’s Attorney
THE DEFENDANT:
     admitted guilt to violations: Violations No. 1, 2, 4, 5, 6, 7, 8, 9, 10, 11 of the term of supervision.

The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                                   Violation Ended

1                             Mandatory Condition: New Law Violation (Shoplifting)                                  12/05/2019
2                             Mandatory Condition: New Law Violation (Failure to Appear)                            02/07/2020
4                             Mandatory Condition: New Law Violation (Driving on Suspended License)                 06/23/2020
5                             Mandatory Condition: New Law Violation (Failure to Appear)                            09/04/2020
6                             Mandatory Condition: Possession of a Controlled Substance                             03/03/2020
7                             Standard Condition No. 2: Failure to Report to USPO as Instructed                     11/06/2020
8                             Standard Condition No. 11: Failure to Notify of Law Enforcement Contact               11/06/2020
9                             Special Condition No. 1: Failure to Comply with Drug Treatment                        11/06/2020
10                            Special Condition No. 1: Failure to Comply with Mental Health Treatment               11/06/2020
11                            Criminal Monetary Payments: Failure to Pay Fines as Directed                          11/06/2020

       The defendant is sentenced as provided in pages 2 through           4 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 X    The defendant has not violated violation(s)          #3: New Law Violations           and the Court dismisses the allegation.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:           5812                                        January 12, 2021
                                                                                               Date of Imposition of Judgment
Defendant’s Year of Birth:          1989
                                                                                                 /s/ P.K. Holmes, III
City and State of Defendant’s Residence:                                                              Signature of Judge
                Eureka Springs, Arkansas
                                                                                    Honorable P.K. Holmes, III, U.S. District Judge
                                                                                                   Name and Title of Judge

                                                                                                     January 12, 2021
                                                                                                            Date
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AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment

                                                                                                 Judgment — Page   2       of   4
DEFENDANT:                ANDREW DAVIS
CASE NUMBER:              3:15CR30011-003


                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: six (6) months. There is no term of supervised release to follow.


        The court makes the following recommendations to the Bureau of Prisons:




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:

             at                                       a.m.           p.m.       on                                     .

             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             before 2 p.m. on                                               .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                        to

at                                                 with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                            By
                                                                                           DEPUTY UNITED STATES MARSHAL
       Case 3:15-cr-30011-PKH Document 92                                    Filed 01/12/21 Page 3 of 4 PageID #: 363
AO 245D (Rev. 11/16)    Judgment in a Criminal Case for Revocations
                        Sheet 5 — Criminal Monetary Penalties


                                                                                                      Judgment — Page   3   of     4
DEFENDANT:                 ANDREW DAVIS
CASE NUMBER:               3:15CR30011-003
                                                CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                       Assessment                   JVTA Assessment*                Fine                     Restitution
TOTALS          $      -0-                        $ -0-                           $ $14,894.02*            $ -0-
                                                                               (*remaining balance)


     The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.



      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the                  fine         restitution.
          the interest requirement for the               fine            restitution is modified as follows:

Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
       Case 3:15-cr-30011-PKH Document 92                                 Filed 01/12/21 Page 4 of 4 PageID #: 364
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 6 — Schedule of Payments

                                                                                                      Judgment — Page        4       of       4
DEFENDANT:                  ANDREW DAVIS
CASE NUMBER:                3:15CR30011-003

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A          Lump sum payment of $          14,894.02                  due immediately, balance due

                not later than                                          , or
                in accordance with           C,           D,           E, or      F below); or

B          Payment to begin immediately (may be combined with                   C,           D, or        F below); or

C          Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to
           term of supervision; or

E          Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release
           from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay.
F          Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of imprisonment at a rate of
           up to 50% of the defendant’s available funds, in accordance with the Inmate Financial Responsibility Program. During
           residential reentry placement, payments will be 10% of the defendant’s gross monthly income.



Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment
of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.

     This restitution obligation is joint and several with any other obligated defendants, Timothy Brown, 3:15CR30011-001 and Taz
     Bibey, 3:15CR30011-002.

     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
